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UNITED STATES DISTRICT COURT
THE SOUTHERN DISTRICT OF OHIO
EASTERN DIVISION

IN RE: DAVOL, INC,/C.R. BARD, Case No. 2:18-md-2846

INC., POLYPROPYLENE HERNIA

MESH PRODUCTS LIABILITY

LITIGATION Chief Judge Edmund A. Sargus, Jr.
Magistrate Judge Kimberly A. Jolson

This document relates to:
ALL CASES.

ORDER

This matter is before the Court on Defendants’ Notice of Compliance with Pretrial Order
No. 8 (Doc. 150). Defendants propose completing production of all 241 custodians identified in
the ESI protocol by September 27, 2019. (dd. at 2). The Plaintiffs’ Steering Committee (“PSC”)
argues that this approach “threatens to derail the pretrial schedule that was carefully negotiated by
the Parties and ignores the firm trial date that was long ago ordered by this Court.” (Doc. 157 at
1). The PSC proposes a schedule that “prioritizes custodial productions into waves to be completed
by dates certain (every two weeks), with all custodians being completed by August 9, 2019.” (Id.
at 8).

The Court adopts the following deadlines:

e Defendants shall substantially complete the production of documents for the first 43
custodians prioritized by the PSC on or before July 30, 2019. Any supplemental production
for the first 43 custodians prioritized by the PSC shall be completed on or before August
13, 2019,

e Defendants shall substantially complete the production of documents for all remaining

custodians on or before August 29, 2019. Any supplemental production for the remaining
custodians shall be complete on or before September 12, 2019.
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The Court’s adherence to case deadlines is conditioned upon Defendants’ good faith efforts to
comply with them. Defendants shall continue their rolling production of documents and produce
documents every two weeks consistent with their past practice. To the extent Defendants do not
comply with these deadlines or do not otherwise act in good faith, the Court is inclined to consider,
among other things, cost-sharing measures to alleviate the burden on the PSC and to ensure the
case proceeds consistent with the deadlines set forth in CMO 10.

IT IS SO ORDERED.

Date: May 6, 2019 ANS ~ 19-4018

EDMUND. SARGUS, JR. |
UNITED STATES CHIEF DISTRICT COURT JUDGE

KIMBERLY AJOLSON
UNITED STATES MAGISTRATE JUDGE
